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 1    JOSHUA HILL JR. (SBN 250842)
      JHill@mofo.com
 2    MORRISON & FOERSTER LLP
      425 Market Street
 3    San Francisco, California 94105-2482
      Telephone: 415.268.7000
 4    Facsimile: 415.268.7522

 5    JANIE F. SCHULMAN (SBN 130461)
      JSchulman@mofo.com
 6    NILES A. PIERSON (SBN 307115)
      NPierson@mofo.com
 7    MORRISON & FOERSTER LLP
      707 Wilshire Boulevard, Suite 6000
 8    Los Angeles, California 90017-3543
      Telephone: 213.892.5200
 9    Facsimile: 213.892.5454

10
      Attorneys for Plaintiff
11    INTERNATIONAL TECHNOLOGICAL
      UNIVERSITY FOUNDATION, INC.
12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN JOSE DIVISION
15
      INTERNATIONAL TECHNOLOGICAL                         Case No.       5:18-cv-06228-EJD
16    UNIVERSITY FOUNDATION, INC.,
                                                          Judge: Hon. Edward J. Davila
17                          Plaintiff,
                                                          JOINT STIPULATION AND
18           v.                                           [PROPOSED] ORDER CONTINUING
                                                          CONSOLIDATED HEARINGS TO
19    CHAD F. WOLF, in his official capacity as           AUGUST 27, 2020
      Acting Secretary of the Department of
20    Homeland Security, UNITED STATES OF
      AMERICA, UNITED STATES
21    DEPARTMENT OF HOMELAND                              Date Action Filed: October 11, 2018
      SECURITY, UNITED STATES                             Trial Date:        None Set
22    IMMIGRATION AND CUSTOMS
      ENFORCEMENT, STUDENT EXCHANGE
23    AND VISITOR PROGRAM, and DOES 1
      through 10, inclusive,
24
                            Defendants.
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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS
     Case No. 18-CV-6228
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 1          Plaintiff, International Technological University Foundation, Inc. (“ITU”), and

 2   Defendants, Chad F. Wolf, in his official capacity as Acting Secretary of the Department of

 3   Homeland Security, United States of America, U.S. Department of Homeland Security, and U.S.

 4   Immigration and Customs Enforcement, Student and Exchange Visitor Program (collectively,

 5   “Defendants”), hereby stipulate as follows, subject to the Court’s approval:

 6          WHEREAS on October 11, 2018, ITU filed a Complaint alleging violations of the Due

 7   Process Clause of the Fifth Amendment and the Administrative Procedure Act and seeking

 8   declaratory, injunctive, and mandamus relief pursuant to 28 U.S.C. §§ 1361, 1651, & 2201 and 5

 9   U.S.C. § 706;

10          WHEREAS on October 11, 2018, ITU’s counsel notified the United States Attorney’s

11   Office of ITU’s intent to file an emergency application for a Temporary Restraining Order

12   (“TRO”) later that same day;

13          WHEREAS Defendants agreed to a stay of proceedings in the administrative adjudication

14   of ITU’s certification to enroll nonimmigrant students pending a ruling on ITU’s motion for a

15   preliminary injunction (“PI Motion”) if ITU agreed not to file an application for a TRO;

16          WHEREAS the parties previously stipulated to a stay of administrative proceedings until

17   this Court rules on Plaintiff’s anticipated PI Motion, a briefing schedule, and a consolidated

18   hearing date for the PI Motion and Motion to Dismiss of March 14, 2019, as set out in full in this

19   Court’s Order dated October 30, 2018 (Dkt. No. 22);

20          WHEREAS the parties filed their opening briefs pursuant to their stipulated schedule on

21   December 17, 2018 (Dkt. Nos. 26, 27);

22          WHEREAS the parties filed their opposition briefs on March 22, 2019 and their reply

23   briefs on May 5, 2019 (Dkt. Nos. 32, 33);

24          WHEREAS the parties filed several stipulations to continue the consolidated hearings and

25   initial case management conference (Dkt. Nos. 41, 43, 45);

26          WHEREAS, on July 25, 2019, the Court denied Plaintiff’s PI Motion and Defendants’

27   Motion to Dismiss without prejudice and ordered that the motions be renoticed, if at all, by

28   September 11, 2019 for a hearing on September 26, 2019 (Dkt. No. 46);

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 1          WHEREAS the Court extended the parties’ time to renotice the consolidated hearings

 2   from September 11, 2019 for a hearing on September 26, 2019 to December 30, 2019 for a

 3   hearing on January 23, 2020 and set the initial case management conference for February 27,

 4   2020 (Dkt. No. 48);

 5          WHEREAS the parties engaged in active settlement discussions throughout the summer

 6   until early October 2019, but encountered a delay in negotiations due to changes in the

 7   composition of ITU’s Board of Trustees and senior leadership that occurred in October 2019;

 8          WHEREAS on December 27, 2019, Defendants renoticed the hearing on their motion to

 9   dismiss for January 23, 2020 (Dkt. No. 49);

10          WHEREAS on December 30, 2019, Plaintiff renoticed the hearing on its motion for a

11   preliminary injunction for January 23, 2020 (Dkt. No. 50);

12          WHEREAS, following the parties’ filings renoticing the consolidated hearings, Plaintiff

13   proposed the resumption of settlement discussions, and in response the Government requested

14   additional information from ITU so that it may consider the effects of recent developments at

15   ITU;

16          WHEREAS the parties previously stipulated to continue the consolidated hearing from

17   January 23, 2020 to April 2, 2020, from April 2, 2020 to June 11, 2020, and from June 11, 2020

18   to July 30, 2020, and the Court approved these stipulations (Dkt. Nos. 52, 54, 56);

19          WHEREAS in the past few months the parties have made significant progress toward a

20   settlement and are actively working to obtain the necessary approvals;

21          WHEREAS due to the disruptions and limitations created by the COVID-19 pandemic,

22   the parties anticipate that additional time may be necessary to reach a final agreement and

23   therefore request that the Court further continue the consolidated hearing from July 30, 2020 to

24   August 27, 2020;

25          WHEREAS the parties intend to continue their discussions during this time and these

26   further discussions may obviate the need for further litigation before this Court;

27          IT IS HEREBY STIPULATED by and between Plaintiff ITU and Defendants that:

28          (1)     The parties jointly request that the hearings on the Plaintiff’s motion for

     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS
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 1                 preliminary injunction (Dkt. No 26) and Defendants’ motion to dismiss (Dkt. No.

 2                 27) be continued from July 30, 2020 to August 27, 2020; at 10:00 a.m.

 3          (2)    The parties jointly request that the initial case management conference remain set

 4                 for August 27, 2020; and

 5          (3)    This Joint Stipulation shall leave undisturbed all agreements between the parties

 6                 set out in Paragraphs 1, 2 and 3 of the Joint Stipulation, filed October 29, 2018,

 7                 and the Court’s Order, dated October 30, 2018 (Dkt. No. 22).

 8

 9   Respectfully Submitted,

10   DATED:        July 9, 2020

11
      MORRISON & FOERSTER LLP                         DAVID L. ANDERSON
12                                                    UNITED STATES ATTORNEY
13

14    By: /s/ Joshua Hill                             By: /s/ Michelle Lo
          JOSHUA HILL JR.                                 Michelle Lo
15                                                        Assistant United States Attorney
16         Attorneys for Plaintiff                          Attorneys for Federal Defendants
           INTERNATIONAL
17         TECHNOLOGICAL UNIVERSITY
           FOUNDATION, INC.
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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS
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 1                                       [PROPOSED] ORDER

 2   Having reviewed the parties’ Joint Stipulation and [Proposed] Order Continuing Consolidated

 3   Hearings to August 27, 2020, IT IS HEREBY ORDERED that:

 4          (1)    The hearings on the Plaintiff’s motion for preliminary injunction (Dkt. No 26) and

 5                 Defendants’ motion to dismiss (Dkt. No. 27) be continued from July 30, 2020 to

 6                 August 27, 2020 at 9:00 a.m.; 10:00 a.m.

 7          (2)    The initial case management conference remains set for August 27, 2020 at 10:00

 8                 a.m.; and

 9          (3)    All agreements between the parties set out in Paragraphs 1, 2 and 3 of the Joint

10                 Stipulation, filed October 29, 2018 (Dkt. No. 21), and the Court’s Order, dated

11                 October 30, 2018 (Dkt. No. 22) shall remain in effect.

12

13   IT IS SO ORDERED.

14
      DATED: _____________________
               July 10, 2020
15                                                           HON. EDWARD J. DAVILA
                                                          UNITED STATES DISTRICT COURT
16                                                                   JUDGE
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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS
     Case No. 18-CV-6228
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 1                         ATTESTATION (CIVIL LOCAL RULE 5-1(I)(3))

 2          In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
 3   document has been obtained from the signatories.
 4

 5   Dated: July 9, 2020                           MORRISON & FOERSTER LLP

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 7                                                             /s/ Joshua Hill
 8                                                            Joshua Hill Jr.

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     STIPULATION AND [PROPOSED] ORDER CONTINUING CONSOLIDATED HEARINGS
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